






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00097-CR





Ex parte Sterling Allen


&amp;





NO. 03-11-00417-CR






Sterling Allen, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT

NO. C-R-10-0659-HC, HONORABLE DAN R. BECK, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant Sterling Allen has been charged with the offenses of forgery, evading arrest
with a motor vehicle, and tampering with physical evidence.  In each of the above causes, Allen has
filed a pro se notice of appeal from the district court's order denying Allen's pretrial application for
writ of habeas corpus.  We have now received from Allen a motion to dismiss in which he represents
that he has pleaded guilty to the underlying offenses and asks us to dismiss his appeals.  In each of
the above causes, we grant appellant's motion.  The appeals are dismissed.


						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Dismissed on Appellant's Motion

Filed:   February 17, 2012

Do Not Publish


